Case 1:25-cv-23147-DPG Document 1-13 Entered on FLSD Docket 07/15/2025 Page 1 of 3




                                   EXHIBIT 13
Case 1:25-cv-23147-DPG Document 1-13 Entered on FLSD Docket 07/15/2025 Page 2 of 3



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      R>OBCFOPQPE>OBATFQE*QEFKH@>KELIALCCQLDFSBR
      BU@IRPFSB
      ELTILKDALRKBBA 
      
      0K>Q". "K>4T>KPLK
      >K>PT>KPLK!KVQFJBP@LJTOLQB
      
      5E>KHP /F@H)>SBVLRPE>OBATFQELQEBOJBAF> *CVLR
      @>K
      ELIA
      LCC>?FQ 
      *AILSBQLE>SBQEBBU@IRPFSBLKQEFP5>IHFKDTFQEJV
      BAFQLOP
      OFDEQKLT
      
      0K5ER 4BM >Q".KF@HG>JBP!KVJERPE@LJ
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      1IB>PBPBB-BQQBOGRPQABIFSBOBA SF>C>U>KALOBJ>FI 
      COLJ
      5FH5LH(IL?>I
      QL644BK>QLO.>O@L3R?FL
      644BK>QLO3F@H4@LQQ644BK>QLO+LEK$LOKVK
      644BK>QLO.>OPE>#I>@H?ROK644BK>QLO5BA$ORW
      644BK>QLO3LDBO8F@HBO644BK>QLO%>K4RIIFS>K64
      4BK>QLO
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      4R?GB@QPRMMLOQOBNRBPQFKD$'*64OBSFBTLC5(/[P
      QO>KP>@QFLK?B
      @LJMIBQBA
      >QQEBP>JBQFJB>P0O>@IB[P PLQEB1OBPFABKQTFII
      E>SB
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      FKCLOJ>QFLK>S>FI>?IBQLEFJTEBKEBJ>HBP@OFQF@>I
      AB@FPFLKPFK
      QEBKB>O
      CRQROBFJM>@QFKDQEBK>QFLK>IPB@ROFQVLCQEB6KFQBA
      4Q>QBP
      PBBQEORIFKHEBOB
      EQQMPAL@PBKA@LJSFBTU?@MT>FUFE
      
      "IPL>QQ>@EBAFP>MMOLSBAMELQL
      CLORP>DBFK>OQF@IBLC$&05FH5LH(IL?>I
      >KA$/#$.>OF>#>OQFOLJLSFABLFKQBOSFBTCLOCROQEBO
      @LILOSBOFCF@>QFLKOB
      ?>@HDOLRKA
      TTTJVM>IFP>ABP@>MFQ>I@LJ>?LRQ
Case 1:25-cv-23147-DPG Document 1-13 Entered on FLSD Docket 07/15/2025 Page 3 of 3



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      0K>Q1. KF@HG>JBP!KVJERPE@LJTOLQB
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      5E>KHVLRPLJR@ECLOPE>OFKDQEFPTFQERP*J
      OBSFBTFKD
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      >S>FI>?IBQLAFP@RPPQEFPTFQEJB *@LRIAQ>IHSF>
      4FDK>I
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      PB@ROBJBQELAFCVLRMOBCBO.V@BIIMELKB>KA4FDK>I
      KRJ?BO
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      *DLQQEBLHQLMOLSFAB>MACSBOPFLKLCQEB
      >DOBBJBKQ
      PLFQ@>K?BFK@IRABAQL?BOBSFBTBA?VOB>ABOP
       M>PQBA
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      M>OQLC
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      >DOBBJBKQ
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      R>OBLKBLCCFOPQGLROK>IFPQPQEFPPBKQQL>PTB
